Case 4:19-cv-00717-JST   Document 513-36   Filed 12/11/24   Page 1 of 9




                (;+,%,7
Case 4:19-cv-00717-JST   Document 513-36 Filed 12/11/24   Page 2 of 9
                              Michael Bench
                            November 20, 2024

· · · · · · · · ·UNITED STATES DISTRICT COURT

· · · NORTHERN DISTRICT OF CALIFORNIA - OAKLAND DIVISION

· · · · · · · · · · · · · ·--o0o--

· · ·IN RE CALIFORNIA BAIL BOND· · · ·Lead Case No.
· · ·ANTITRUST LITIGATION,· · · · · · 4:19-cv-001717-JST
·
· · ·This Document Relates to:
·
· · ·ALL ACTIONS.
· · ·____________________________

·

·

· · · · · · · · · VIDEOTAPED DEPOSITION OF

· · · · · · · · ABSOLUTE BONDING CORPORATION,

· · · · · · · · · d/b/a Absolute Bail Bonds,

· · · · · · · · by and through MICHAEL BENCH,

· · · · · · · · · · Person Most Qualified

· · · · · · · · ·Wednesday, November 20, 2024

· · · · · · · · · · · · 10:07 a.m. PST

· · · · · U.S. Legal Support - Remote Teleconference

· · · · · · · · · · ·Palmdale, California

·

·

·

·

· · ·STENOGRAPHICALLY REPORTED BY:

· · ·CARRIE HEWERDINE, RDR, CSR No. 4579

· · ·JOB # 6754671


             U.S. Legal Support | www.uslegalsupport.com                ·
Case 4:19-cv-00717-JST   Document 513-36 Filed 12/11/24   Page 3 of 9
                              Michael Bench
                            November 20, 2024

·1· · · · · · ·Because you'd have to add some of these

·2· ·together, and some of them have not -- it's -- it's

·3· ·bad.

·4· · · · · · ·THE REPORTER:· I'm just going to remind

·5· ·you that when two people are talking, only one audio

·6· ·comes through for me and for the videographer.

·7· · · · · · ·So please let each other finish.

·8· · · · · · ·MS. COOPER-GREENE:· Sorry about that.

·9· ·BY MS. COOPER-GREENE:

10· · · · Q· · And just to clear up the record, because

11· ·the -- some of these terms can get confusing.

12· · · · · · ·Umm, when you were describing, uh,

13· ·discounting, uh, earlier in your testimony, umm,

14· ·you -- you weren't talking about, uh -- were you

15· ·talking -- were you talking about a -- how would --

16· ·uh, when you were describing, uh, discounting, umm,

17· ·was that -- was that, uh, a combination of a pre- --

18· ·preferred rates and a rebating that you were talking

19· ·about?

20· · · · · · ·MR. HARVEY:· Objection to form.

21· · · · · · ·THE WITNESS:· Umm, what's "preferred rate"

22· ·mean?

23· ·BY MS. COOPER-GREENE:

24· · · · Q· · A qualified rate.· Like an 8 percent

25· ·qualified rate.


             U.S. Legal Support | www.uslegalsupport.com                117
                                                                              YVer1f
Case 4:19-cv-00717-JST   Document 513-36 Filed 12/11/24   Page 4 of 9
                              Michael Bench
                            November 20, 2024

·1· · · · A· · The rate --

·2· · · · Q· · Yeah.

·3· · · · A· · Okay.· So say that again, please.

·4· · · · Q· · So when you were describing discounting --

·5· · · · A· · Yeah.

·6· · · · Q· · -- were you talking about a -- a preferred

·7· ·rate or were you talking about, umm, charging less

·8· ·than the filed rate?

·9· · · · · · ·MR. HARVEY:· Objection to form.

10· · · · · · ·THE WITNESS:· I don't understand that.                   I

11· ·don't understand the question.

12· · · · · · ·But yeah, we discount off -- off of the

13· ·filed rate.· No doubt about it.

14· ·BY MS. COOPER-GREENE:

15· · · · Q· · ·Okay.· Well, I'm going to -- we've

16· ·already looked at some of the websites, so we're

17· ·just going to go through these really quickly.

18· · · · · · ·They're a little bit different from what

19· ·you looked at, but similar, umm, on the Plaintiffs'

20· ·exhibits on your website.

21· · · · · · ·Umm, this is, uh, Defendant's Exhibit 1 --

22· ·1028.

23· · · · · · · · · · · ·(Deposition Exhibit No. 1028

24· · · · · · · · · · · ·marked)

25· · · · · · ·THE WITNESS:· I'm getting there.


             U.S. Legal Support | www.uslegalsupport.com                    118
                                                                                  YVer1f
Case 4:19-cv-00717-JST   Document 513-36 Filed 12/11/24   Page 5 of 9
                              Michael Bench
                            November 20, 2024

·1· · · · · · · ·(Proceedings paused briefly)

·2· · · · · · ·MR. AOUN:· Okay.· We have it.

·3· ·BY MS. COOPER-GREENE:

·4· · · · Q· · And this was a recent website?

·5· · · · A· · I have no idea.· We have 170 of them, I

·6· ·think.

·7· · · · Q· · Okay.

·8· · · · A· · Yeah.· I don't have any idea.· And I've

·9· ·never heard -- and I've never even seen any of my

10· ·web -- my web pages, except in a different form,

11· ·where the photos we were picking out, to make sure

12· ·that they're not somebody that -- we have to make

13· ·sure the photos don't belong to anybody.

14· · · · Q· · Yeah.

15· · · · A· · Otherwise, we get a lawsuit that tells us

16· ·we need $2,000, you know, for this -- using our

17· ·picture.· And that's what I do.

18· · · · · · ·MR. AOUN:· Let her ask the question and --

19· · · · · · ·THE WITNESS:· Okay.

20· · · · · · ·MR. AOUN:· -- you answer the question she

21· ·asks.

22· ·BY MS. COOPER-GREENE:

23· · · · Q· · Okay.

24· · · · · · ·When you -- uh, when -- at page number --

25· ·page 6.


             U.S. Legal Support | www.uslegalsupport.com                119
                                                                              YVer1f
Case 4:19-cv-00717-JST   Document 513-36 Filed 12/11/24   Page 6 of 9
                              Michael Bench
                            November 20, 2024

·1· · · · A· · Yes.

·2· · · · Q· · And if FCS lowered its rate to, say,

·3· ·9 percent, would the amount that goes to FCS from

·4· ·you, would that -- would that change?

·5· · · · A· · If they changed their filed rate to

·6· ·9 percent but we were still paying them 7, it

·7· ·wouldn't make any difference.

·8· · · · Q· · If they lowered their rate to 9 percent,

·9· ·but it's based on the penal amount --

10· · · · A· · Yes.

11· · · · Q· · -- would it make any difference?

12· · · · A· · No.

13· · · · Q· · Would it --

14· · · · A· · Umm, I don't think it matters at all what

15· ·the file rate is.

16· · · · · · ·Everybody is in competition now.· They can

17· ·lower their rate to anything they want, but the

18· ·9 percent and 10 percent don't hold anymore.

19· · · · Q· · Umm, because your contract with FCS is

20· ·based on penal amount, is it true that it doesn't

21· ·matter how much you charge the customer, FCS will

22· ·get the same regardless?

23· · · · A· · Yes.· And I've been meaning to talk to you

24· ·about that.

25· · · · Q· · Um, was -- has that been true of other


             U.S. Legal Support | www.uslegalsupport.com                150
                                                                              YVer1f
Case 4:19-cv-00717-JST   Document 513-36 Filed 12/11/24   Page 7 of 9
                              Michael Bench
                            November 20, 2024

·1· ·sureties that you have written for, or has that been

·2· ·different?· Has some of them been based on premium?

·3· · · · · · ·MR. AOUN:· Objection to form.

·4· · · · · · ·THE WITNESS:· Actually, every surety wants

·5· ·us to write as much bail as we can and doesn't want

·6· ·to have to pay any forfeitures.

·7· · · · · · ·They want us to pay them, and then they --

·8· ·and that's it.· They just want to get their

·9· ·7 percent and don't care what happens.

10· · · · · · ·It's like car insurance.· You pay it or

11· ·you don't have it.

12· ·BY MS. COOPER-GREENE:

13· · · · Q· · Umm, how did you, uh, negotiate your

14· ·contract rate with the sureties that you write with?

15· · · · · · ·MR. AOUN:· Objection to form.

16· · · · · · ·THE WITNESS:· Let's see.· I was -- I think

17· ·I was 22 years old -- no, a little bit older than

18· ·that.

19· · · · · · ·I think I was 42 years old then.· So do

20· ·you want -- yeah.· We smoked cigars and went to

21· ·Vegas, we had a good time.· And then if you liked

22· ·the people you were going to work with -- it's all a

23· ·personal business.

24· ·BY MS. COOPER-GREENE:

25· · · · Q· · Um, why have you stayed with FCS since


             U.S. Legal Support | www.uslegalsupport.com                151
                                                                              YVer1f
Case 4:19-cv-00717-JST   Document 513-36 Filed 12/11/24   Page 8 of 9
                              Michael Bench
                            November 20, 2024

·1· ·2007?

·2· · · · A· · Well, to start with, you know, it started

·3· ·out with Ranger.· And all those guys went -- went

·4· ·over -- all us -- all us old guys stayed there with

·5· ·FCS -- your people and my people -- everyone stayed.

·6· · · · · · ·But lately, uh, my wife does the business

·7· ·with FCS.· And this is a different -- it's a

·8· ·different generation.

·9· · · · · · ·You've got a different generation of

10· ·people at your place and different at our place.

11· ·Because in the old days -- this is -- I shouldn't

12· ·say it.· But in the old days, we just called the

13· ·guy, said, Hey, we have 400,000.

14· · · · · · ·He'd say, Okay.· Look at this.

15· · · · · · ·And they say, Yes.

16· · · · · · ·Now we have the forms to fill out, and I

17· ·don't -- I don't do that.· My wife does it.

18· · · · Q· · Umm, what is -- for FCS, what's, umm --

19· ·well, hold on.

20· · · · · · ·Let's -- let me -- I just uploaded

21· ·Defendant's Exhibit 1037.

22· · · · · · · · · · · ·(Deposition Exhibit No. 1037

23· · · · · · · · · · · ·marked)

24· · · · · · ·MS. COOPER-GREENE:· Oh.· You know, hold

25· ·on.· Sorry.· We'll look at that one in a second.


             U.S. Legal Support | www.uslegalsupport.com                152
                                                                              YVer1f
Case 4:19-cv-00717-JST   Document 513-36 Filed 12/11/24   Page 9 of 9
                              Michael Bench
                            November 20, 2024

·1· ·UNITED STATES DISTRICT COURT· · · · · · · )
· · ·FOR THE NORTHERN DISTRICT OF CALIFORNIA - )
·2· ·OAKLAND DIVISION· · · · · · · · · · · · · )

·3· · · · I, Carrie Hewerdine, RDR, CSR No. 4579,

·4· ·Certified Shorthand Reporter, certify:

·5· · · · That the foregoing proceedings were taken

·6· ·before me at the time and place therein set forth,

·7· ·at which time the witness was put under oath by me;

·8· · · · That the testimony of the witness, the

·9· ·questions propounded, and all objections and

10· ·statements made at the time of the examination were

11· ·recorded stenographically by me and were thereafter

12· ·transcribed;

13· · · · That a review of the transcript by the deponent

14· ·was requested;

15· · · · That the foregoing is a true and correct

16· ·transcript of my shorthand notes so taken.

17· · · · I declare under penalty of perjury under the

18· ·laws of California that the foregoing is true and

19· ·correct.

20· · · · · · ·Dated this 25th of November, 2024

21

22

23
· · ·____________________________________________________
24· · ·CARRIE HEWERDINE, Registered Diplomate Reporter
· · · CA CSR No. 4579 / NV CCR No. 820 / NM CCR No. 521
25· · ·WA CCR 21033864 / OR CCR 230123 / TX CSR 12952


             U.S. Legal Support | www.uslegalsupport.com                211
